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                                                                                        FILED
                             UNITED STATES DISTRICT COURT                                  1/21/2021
                                                                                   Clerk, U.S. District & Bankruptcy
                             FOR THE DISTRICT OF COLUMBIA
                                                                                   Court for the District of Columbia


CLYDE E. WARD,                                 )
                                               )
               Plaintiff,                      )
                                               )
       v.                                      )       Civil Action No. 21-105 (UNA)
                                               )
UNITED STATES DEPARTMENT                       )
OF VETERANS AFFAIRS et al.,                    )
                                               )
                Defendants.                    )


                                   MEMORANDUM OPINION

       This matter is before the Court on its initial review of plaintiff’s pro se complaint and

application for leave to proceed in forma pauperis. The Court will grant the application and

dismiss the complaint for lack of subject matter jurisdiction. See Fed. R. Civ. P. 12(h)(3)

(requiring the court to dismiss an action “at any time” it determines that subject matter

jurisdiction is wanting).

       “Federal courts are courts of limited jurisdiction. They possess only that power

authorized by Constitution and statute,” and it is “presumed that a cause lies outside this limited

jurisdiction.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 377 (1994) (citations

omitted). A party seeking relief in the district court must at least plead facts that bring the suit

within the court’s jurisdiction. See Fed. R. Civ. P. 8(a). Failure to plead such facts warrants

dismissal of the action.

       Plaintiff is a resident of Toledo, Ohio, who has sued the U.S. Department of Veterans

Affairs and Secretary Robert L. Wilkie, in his official capacity. The complaint challenges

decisions rendered by the U.S. Board of Veterans Appeals and the U.S. Court of Appeals for



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Veterans Claims concerning plaintiff’s medical benefits. Compl. Sec. III (Statement of Claim).

Plaintiff “want[s]” this “Court to provide an adequate remedy within a venue providing a

fundamentally fair and unbiased adjudication of my claim[.]” Compl. at 6. In addition to

injunctive relief, plaintiff seeks money damages under Bivens v. Six Unknown Named Agents of

Federal Bureau of Narcotics, 403 U.S. 388 (1971). See id., Sec. II (Basis for Jurisdiction).

       Decisions “affecting the provision of veterans’ benefits” are generally the exclusive

province of the Court of Veterans Appeals and the United States Court of Appeals for the

Federal Circuit. Price v. United States, 228 F.3d 420, 421 (D.C. Cir. 2000) (per curiam) (citing

38 U.S.C. § 511(a)); accord Hunt v. U.S. Dep’t of Veterans Affairs, 739 F.3d 706, 707 (D.C. Cir.

2014) (per curiam); Thomas v. Principi, 394 F.3d 970, 975 (D.C. Cir. 2005). “Benefit means any

payment, service, commodity, function, or status, entitlement to which is determined under laws

administered by the Department of Veterans Affairs pertaining to veterans and their dependents

and survivors.” 38 C.F.R. § 20.3(e).

       Since plaintiff is seeking “the VA’s action . . . with respect to a veterans’ benefits

matter,” the Court lacks subject matter jurisdiction over his claim for injunctive relief. Price,

228 F.3d at 421 (citing 38 U.S.C. § 511(a)); see also id. at 422 (“[C]ourts have consistently held

that a federal district court may not entertain constitutional or statutory claims whose resolution

would require the court to intrude upon the VA’s exclusive jurisdiction.”) (citing cases); Thomas,

394 F.3d at 975 (“Because adjudicating . . . allegations [of] failure to render appropriate medical

services and denial of . . . necessary medical care treatment would require the district court to

determine first whether the VA acted properly in providing . . . benefits, [such] claims are barred

by section 511.”) (internal quotation marks and omitted)); Verner v. U.S. Gov’t, 804 F. Supp.

381, 385 (D.D.C. 1992) (concluding that the “Court is clearly barred by § 511(a) from issuing” a



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preliminary injunction to compel veteran’s medical treatment). District courts, such as this, also

lack jurisdiction to review another court’s decisions and order it to take any action. See United

States v. Choi, 818 F. Supp. 2d 79, 85 (D.D.C. 2011) (district courts “generally lack[] appellate

jurisdiction over other judicial bodies, and cannot exercise appellate mandamus over other

courts.”) (citing Lewis v. Green, 629 F. Supp. 546, 553 (D.D.C. 1986)); accord Atchison v. U.S.

Dist. Courts, 240 F. Supp. 3d 121, 126, n.6 (D.D.C. 2017) (“It is a well-established principle

that a district court can neither review the decisions of its sister court nor compel it to act.”).

        With respect to plaintiff’s claim for damages, 38 U.S.C. § 511(a) is not a jurisdictional

bar to a claim that does not entail the review of a benefits decision. Blue Water Navy Vietnam

Veterans Ass’n, Inc. v. McDonald, 830 F.3d 570, 576 (D.C. Cir. 2016). But Congress has not

waived the United States’ immunity from suit under Bivens, see FDIC v. Meyer, 510 U.S. 471,

485-86 (1994), which includes Secretary Wilkie. See Kentucky v. Graham, 473 U.S. 159, 166

(1985) (“an official-capacity suit is, in all respects other than name, to be treated as a suit against

the entity”). Therefore, this case will be dismissed. A separate Order accompanies this

Memorandum Opinion.


                                                        _________s/_____________
                                                        TANYA S. CHUTKAN
Date: January 21, 2021                                  United States District Judge




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